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                                               Certificate Number: 16199-CAC-CC-030534141


                                                              16199-CAC-CC-030534141




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 6, 2018, at 4:19 o'clock PM EST, Juan R Mejia
received from CC Advising, Inc. , an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in the Central District of California, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 6, 2018                       By:      /s/Dayton Chevalier for Julia Trinidad


                                               Name: Julia Trinidad


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
